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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR11-131-MJP
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   JOHN TRAN,                           )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Distribute Controlled Substances

15 Date of Detention Hearing:     May 27 2011.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably

19 assure the appearance of defendant as required and the safety of other persons and the

20 community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant has been charged with a drug offense, the maximum penalty of which



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01 is in excess of ten years. There is therefore a rebuttable presumption against defendant as to

02 both dangerousness and flight risk, under 18 U.S.C. § 3142(e). The charges involve very

03 significant quantities of controlled substances and money.

04         2.       The government proffers a transcription of a phone call in which defendant is

05 alleged to have discussed another individual suspected of taking money from the drug

06 trafficking organization. The government alleges that defendant and the other individual

07 recorded in the conversation discuss hiring another organization to kidnap or kill the suspected

08 thief. The government proffers that case agents were sufficiently concerned by the recorded

09 phone call that they jeopardized the investigation by warning the suspected target and his wife

10 of the potential danger.

11         3.       Defendant has strong ties to this community, although his parents reside in

12 Vietnam, and siblings residing in Vietnam and Cambodia. He has a history of travel to Asia

13 and to Canada.

14         4.       Taken as a whole, the record does not effectively rebut the presumption that no

15 condition or combination of conditions will reasonably assure the appearance of the defendant

16 as required and the safety of the community.

17 It is therefore ORDERED:

18      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

19         General for confinement in a correction facility separate, to the extent practicable, from

20         persons awaiting or serving sentences or being held in custody pending appeal;

21      2. Defendant shall be afforded reasonable opportunity for private consultation with

22         counsel;



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01     3. On order of the United States or on request of an attorney for the Government, the

02        person in charge of the corrections facility in which defendant is confined shall deliver

03        the defendant to a United States Marshal for the pupose of an appearance in connection

04        with a court proceeding; and

05     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

06        for the defendant, to the United States Marshal, and to the United State Pretrial Services

07        Officer.

08        DATED this 27th day of May, 2011.

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10                                                      A
                                                        Mary Alice Theiler
11                                                      United States Magistrate Judge

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